While at first blush it appeared that the attachment in the Kistler case (No. 70,645) was excessive, it now appears that a large attachment by the wife of the same defendant in another action (Salisbury v. Salisbury, March, 1948) adds such further complication as possibly to impair his final solvency. Certainly the court is not justified under the circumstances in concluding that there is any abuse of the important privilege bestowed upon members of the bar in making attachments. But of equal importance, perhaps, is the practical difficulty of determining in what way the two plaintiffs could be protected other than by the frequent expedient of arranging bonds or giving suitable assignments. The bank itself is in no way prejudiced in its duties, even though perhaps nettled by the attachments.
   The motions in both cases are therefore denied. Memorandums are enclosed for each file.